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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10   PAULA HILL,                                  )   Civil No. 06CV2544 JAH(POR)
                                                  )
11                       Plaintiff,               )   ORDER GRANTING
     v.                                           )   DEFENDANT’S MOTION TO
12                                                )   DISMISS PLAINTIFF’S FIRST
     RINCON BAND OF LUISENO                       )   AMENDED COMPLAINT
13   INDIANS, et al.                              )
                                                  )
14                       Defendants.              )
                                                  )
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16         Now before this Court is Defendant Rincon Band of Luiseno Mission Indians’
17   (“Defendant”) motion to dismiss Plaintiff Paula Hill’s (“Plaintiff”) first amended complaint
18   under Fed. R. Civ. P. 12(b)(1) and (b)(6).
19                                          BACKGROUND
20         Plaintiff filed her complaint against Defendants Rincon Band of Luiseno Indians
21   (“Rincon”), Tuukut Sass and Rob Shafer (collectively “Defendants”) on November 17, 2006.
22   Rincon’s first motion to dismiss was granted on March 16, 2007. Doc. No. 5. This Court’s
23   order provided that if the amended complaint fails to establish subject matter jurisdiction, it
24   will be dismissed with prejudice.
25         Plaintiff filed her first amended complaint against Defendants on May 9, 2007 seeking
26   damages for intentional infliction of emotional distress, negligent infliction of emotional
27   distress, and human rights violation under international law. Doc. No. 15. Plaintiff alleges that
28   Rincon hired her as a water technician in August 2003, and that during the course of her


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 1   employment, she “was the target of offensive, threatening and dangerous conduct by male co-
 2   workers.” Amended Complaint. at ¶ 14. The harassing conduct allegedly included making sexual
 3   gestures and advances, urinating on her car tire, spitting and touching Plaintiff, directing
 4   derogatory and lewd comments to Plaintiff, aiming and firing a shotgun at Plaintiff, and
 5   harassing and threatening Plaintiff with phone messages. Id. Plaintiff contends that the
 6   harassing conduct spanned over a period of eighteen months, and included acts on Rincon’s
 7   property, as well as in the county of San Diego. Id. at ¶15.
 8          Plaintiff further alleges that Rincon created and forced Plaintiff to work in a dangerous
 9   environment by requiring her to transport concentrated chlorine in her personal vehicle.
10   Amended Complaint at ¶ 20. Plaintiff claims that this behavior and environment caused her to
11   suffer an emotional breakdown, where she could no longer work with Rincon and was forced
12   to stop working in July 2005, and eventually resigned in October 2005. Id. at ¶ 19. Plaintiff
13   further asserts that complaints made to her supervisors were ignored, and that Defendant
14   Shafer, Rincon’s Tribal Administrator, never brought her complaints to the attention of the
15   tribal council. Id. at ¶ 18.
16          The relevant new and revised allegations in the first amended complaint are as follows:
17          9. This action is based upon violations of basic human rights under international law
18          committed by Rincon and/or its agents, including each defendant, and directed toward
19          MS. HILL.
20          10. This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which provides
21          federal question jurisdiction in cases arising under the Constitution and laws of
            the United States. International human rights law constitutes the law of the
22          United States, under the established doctrine that customary international law is
23          a part of the federal common law.
24
            12. RINCON expressly waived its tribal sovereign immunity with respect to
25          claims resulting from gaming-related activities. MS. HILL’S claims arise from
26          gaming-related activities. RINCON also has no immunity from claims for
            violation of basic human rights under international law.
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28   Further, Plaintiff deleted Count I for “civil rights violation” under the unconstitutional

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 1   provision of the Violence Against Women Act, 42 U.S.C. § 13981. Plaintiff added Count III
 2   for “Violation of Human Rights Under International Law.” The relevant paragraph states:
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 4          35. The conduct of Defendants toward MS. HILL as alleged above violated MS.
 5          HILL’S basic human rights pursuant to fundamental norms of international law,
            as established in the United Nations Charter, the Universal Declaration of
 6          Human Rights, and other international human rights law sources, and which also
 7          arise under Federal common law.
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            On May 29, 2007, Rincon filed a motion to dismiss the first amended complaint. Doc.
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10   No. 17. Plaintiff filed a response on July 23, 2007. Doc. No. 18. Rincon filed a reply on July

11   30, 2007. Doc. No. 19.
                                              DISCUSSION
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13   I.     Legal Standard

14          A.     Fed. R. Civ. P. 12(b)(1)

15          “A motion to dismiss for lack of subject matter jurisdiction may either attack the

16   allegations of the complaint or may be made as a ‘speaking motion’ attacking the existence of

17   subject matter jurisdiction in fact.” Thornhill Publishing Co. v. General Tel & Elect., 594 F.2d

18   730, 733 (9th Cir. 1979); see also Fed. R. Civ. P. 12(b)(1). Subject matter jurisdiction exists

19   under 28 U.S.C. § 1332 (diversity jurisdiction) “where the matter in controversy exceeds the
     sum or value of $75,000, exclusive of interest and costs, and is between . . . citizens of different
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     states.”
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            “Unlike a Rule 12(b)(6) motion, a Rule 12(b)(1) motion can attack the substance of a
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     complaint’s jurisdictional allegations despite their formal sufficiency, and in doing so rely on
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     affidavits or any other evidence properly before the court.” St. Clair v. City of Chico, 880 F.2d
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     199, 201 (9th Cir. 1989). Thus, the existence of disputed material facts will not preclude the
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     trial court from evaluating for itself the merits of jurisdictional claims. Id.
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            Defendants bring this motion as a “speaking motion” presenting a factual challenge to
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     subject matter jurisdiction. Therefore, this Court may consider extrinsic evidence on whether
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 1   jurisdiction exists and may resolve factual disputes if necessary. Thornhill, 594 F.2d at 733.
 2   Because Plaintiff bears the burden of establishing subject matter jurisdiction, no presumption
 3   of truthfulness attaches to the allegations of plaintiff’s first amended complaint and the Court
 4   must presume it lacks jurisdiction until plaintiff establishes jurisdiction. Stock West, Inc. v.
 5   Confederated Tribes, 873 F.2d 1221, 1225 (9th Cir. 1989).
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 7          B.     Fed. R. Civ. P. 12(b)(6)
 8          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the sufficiency
 9   of the complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal of a claim
10   under this Rule is appropriate only where “it appears beyond doubt that the plaintiff can prove
11   no set of facts in support of his claim which would entitle him to relief.” Conley v. Gibson, 355
12   U.S. 41, 45-46 (1957); Navarro, 250 F.3d at 732. Dismissal is warranted under Rule 12(b)(6)
13   where the complaint lacks a cognizable legal theory. Robertson v. Dean Witter Reynolds, Inc.,
14   749 F.2d 530, 534 (9th Cir. 1984); see also Neitzke v. Williams, 490 U.S. 319, 326 (1989)
15   (“Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive issue of law.”).
16   Alternatively, a complaint may be dismissed where it presents a cognizable legal theory yet fails
17   to plead essential facts under that theory. Robertson, 749 F.2d at 534.
18   II.    Analysis
19          Rincon seeks to dismiss Plaintiff’s first amended complaint based on: 1) lack of subject
20   matter jurisdiction under Fed. R. Civ. P. 12(b)(1); 2) failure to state a claim under Fed. R. Civ.
21   P. 12(b)(6); and 3) sovereign immunity as a bar to Plaintiff’s claims.
22          A.     Subject Matter Jurisdiction
23          Rincon asserts that Plaintiff’s first amended complaint fails to provide grounds for this
24   Court to assert either diversity or federal question jurisdiction in this matter.
25                 1.     Diversity Jurisdiction
26          Rincon first contends that the addition of the new allegations in paragraphs 9, 10, and
27   35 set forth in full above, do not, as a matter of law, establish subject matter jurisdiction.
28   Rincon asserts that changing the claim from one for civil rights violation to one for human


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 1   rights violations under international law does not confer subject matter or federal question
 2   jurisdiction in this case. This Court agrees. Plaintiff does not state a cognizable legal theory.
 3   Robertson, 749 F.2d at 533-34.         Assuming the facts pled in the amended complaint are
 4   accepted as true, Plaintiff has not provided any legal support that she has stated a viable human
 5   rights violation against the Defendant, which is an Indian Tribe.
 6          Defendant Rincon, as a federally recognized Indian Tribe, is not a foreign state for
 7   purposes of diversity. Stock West, Inc. v. Confederated Tribes of the Colville Reservation, 873
 8   F.2d 1221, 1226 (9th Cir.1989), citing Cherokee Nation v. Georgia, 30 U.S. 1, 20, (1831). See
 9   also Barker-Hatch v. Viejas Group Baron Long Capitan Grande Bank of Digueno Mission
10   Indians of the Viejas Group Reservations, 83 F. Supp 2d 1155, 1156 (S.D. Cal. 2000).
11   Further, an unincorporated Indian tribe such as Rincon, is not a “citizen” of any state for
12   purposes of diversity jurisdiction. Am. Vantage Cos. v. Table Mt. Rancheria, 292 F.3d 1091,
13   1095 (9th Cir. 2002). In Am. Vantage, the Ninth Circuit agreed with the First, Second, Eighth
14   and Tenth Circuits in finding that “unincorporated Indian tribes cannot sue or be sued in
15   diversity because they are not citizens of any state.” 292 F.3d at 1095. Accordingly, “‘the
16   presence of an Indian tribe destroys complete diversity’ because ‘[a]n Indian tribe ... is not
17   considered to be a citizen of any state.’” Id., citing to Ningret Dev. Corp. v. Narragansett Indian
18   Wetuomuch Hous. Auth., 207 F.3d 21, 27 (1st Cir. 2000). With the presence of Rincon in
19   this suit, the basis for asserting diversity jurisdiction does not exist. This Court, therefore, finds
20   that there is no diversity jurisdiction in this case because of lack of diversity of citizenship
21   between Plaintiff and Defendants.
22                 2.     Federal Question
23          Rincon also asserts that there is no viable federal question upon which to base this
24   Court’s subject matter jurisdiction. Doc. no. 17, at 2-3. Plaintiff was given the opportunity to
25   amend her complaint by Order of this court on March 16, 2007. Pursuant to that Order, if
26   Plaintiff failed to establish subject matter jurisdiction for this court, Plaintiff’s complaint will
27   be “dismissed with prejudice and without any further leave to amend.”
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 1          The allegations in the amended complaint do not invoke international law or refer to
 2   international relations. Plaintiff added a claim that the Rincon violated Plaintiff’s basic human
 3   rights under fundamental norms of customary international law which arise under Federal
 4   common law. Doc. No. 18, at 3-4. These allegations do not provide an independent basis for
 5   jurisdiction by this Court. Plaintiff provides no authority for her claim that an Indian tribe is
 6   a foreign state for purposes of invoking international law.
 7          For purposes of foreign relations law, Rincon is not a “state.” See Restatement (Third)
 8   of the Foreign Relations Law of the U.S. §201, comment (e) “Capacity to conduct international
 9   relations.” Indian tribes cannot engage in foreign relations; they lack authority to make treaties
10   and are subject to federal legislative power. See Felix S. Cohen, Handbook of Federal Indian
11   Law § 4.02(1) (2005 ed.). Plaintiff’s claim of basic human rights violations under fundamental
12   norms of international law is vague and provides no specific international law allegedly violated.
13   See e.g. Bruns v. Nat’l Credit Union Admin., 122 F.3d 1251, 1257 (9th Cir. 1997).
14          The fundamental norms of international law that Plaintiff’s alleges have been violated
15   are those “established in the United Nations Charter, the Universal Declaration of Human
16   Rights, and other international human rights law sources.” Amended Complaint at ¶35. These
17   claims lack legal authority. In Sosa v. Alvarez-Machain, 542 U.S. 692 (2004), the Supreme
18   court held that the Universal Declaration of Human Rights does not impose obligations as a
19   matter of international law, does not impose legal obligations as would a treaty or international
20   agreement, and does not itself “establish the relevant and applicable rule of international law,”
21   but rather sets forth a “common standard of achievement for all peoples and all nations”. . Id.
22   at 734-735. The Supreme court found that the allegations under the Declaration did not
23   violate customary international law “so well defined as to support creation of a federal remedy.”
24   Id.
25          Similarly, much of the United Nations Charter is aspirational. See Tel-Oren v. Libyan
26   Arab Republic, 726 F.2d 774, 809 (D.C. Cir. 1984). The Charter does not speak in terms of
27   individual rights but rather speaks about obligations on nations. None of the purposes and
28   principles are intended to be judicially enforceable by individuals. Id.


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 1          This Court reviewed all the cases cited by Plaintiff in support of her arguments relating
 2   to the applicability of fundamental norms of customary international law to this case, and
 3   position that this Court should find the conduct of Rincon violates well-defined norms of
 4   customary international law and justifies a federal remedy. The fatal flaw in Plaintiff’s claims
 5   under “international law” is that Rincon is not a foreign state.
 6          Each case cited by Plaintiff involves the interests or laws of a foreign sovereign. Since
 7   at least 1831, the Supreme Court has held that Indian tribes are not “foreign nations” or
 8   “foreign states”, but rather “domestic depend nations.” Cherokee Nation, 30 U.S. at 17, 19-20;
 9   Montoya v. United States, 180 U.S. 261, 265 (U.S. 1901). The Ninth Circuit has followed
10   suit and held that Indian tribes are not “foreign states.” See Allen v. Gold Country Casino, 464
11   F.3d 1044, 1048 (9th Cir. 2006); Krystal Energy Co. v. Navajo Nation, 357 F.3d 1055, 1058
12   (9th Cir. 2004).
13          Rincon is not a “state” for purposes of international law. There is no authority cited by
14   Plaintiff, and this court is not aware of any, that suggests or dictates that Indian tribes should
15   be treated as foreign nations or foreign states for purposes of applying international human
16   rights law. This Court therefore finds that international law principles do not apply in this case
17   involving an employment claim against an Indian tribe.
18          B.     Waiver of Sovereign Immunity
19                Plaintiff makes a bare assertion that Rincon has waived its sovereign immunity.
20 Amended Complaint at ¶12. The law is well established that a waiver of sovereign immunity
21 must be unequivocal. See Baker v. United States, 817 F.2d 560, 562 (9th Cir. 1987); Allen, 464
22 F.3d at 1047. Further, it is well established precedent that claims by former tribal employees
23 against the Tribe are barred by tribal sovereign immunity. Id. at 1045-47; Pink v. Modoc
24 Indian Health Project, Inc., 157 F.3d 1185, 1187 (9th Cir. 1998).
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 4                              CONCLUSION AND ORDER
 5       Based on the foregoing, IT IS HEREBY ORDERED that Defendant’s motion to
 6 dismiss Plaintiff’s first amended complaint with prejudice is GRANTED.
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 9 DATED: August 22, 2007
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11                                              HON. JOHN A. HOUSTON
                                                United States District Judge
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